                           Case 4:14-cr-00010-DPM Document 286 Filed 08/27/14 Page 1 of 1
                                                                  U s DISTRICT COURT
(Post. 3/26/13)
                                                                                EASTERN .DISTRICT OF ARKANSAS

                                             IN THE UNITED STATES DISTRICT               coli.I LED
                                                 EASTERN DISTRICT OF ARKANSASAUG 2 7 2014
                                                       WESTERN DIVISION
                                                                                           ~ oPt:~l couRT           ...,
                                                                                  JAMESW. McC~~F
                  UNITED STATES OF AMERICA

                           vs.                            NO. 4:14CROOOIO-B.'!fl:ff DEPUTYCKk

                  MONTRELL YOUNG                                                                              DEFENDANT


                                        WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                           AND ENTRY OF PLEA OF NOT GUILTY
                                 (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                          NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
                  hereby acknowledges the following:

                  1)       Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                           information in this case. Defendant understands the nature and substance of the charges contained
                           therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                           advised of all of the above by his/her attorney.

                  2)       Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
                           for arraignment in open court on this accusation. Defendant further understands that, absent the
                           present waiver, he/she will be so arraigned in open court.

                  Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
                  his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
                  information, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
                  the Court of said plea for defendant will conclude the arraignment in this case for all purposes.



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                                                           ORDER OF COURT

                   lit"'    The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                            plea of not guilty is entered for the defendant effective this date.

                            The defendant's request to waive appearance at the arraignment is hereby DENIED.

                                 ~-2.1-llf
                            Date                                     Judicial Officer



                  cc:      All Counsel of Record
                           U.S. Probation Office
                           U.S. Marshals Service
                           Presiding Magistrate Judge
